                            Case
        A 0 199A (Rev. 1 1/95)       1:05-cr-00461-OWW
                               Order Sclting Conditions of Rclcaw   Document 41 Filed 04/03/06 Page 1Pof
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                          EASTERN                                   DISTRICTOF                           CALIFORN$A
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                                                                                                                              -,




                  UNITED STATES OF AMERICA
                                                                                    ORDER SETTING CONDITIONS
                                                                                           OF RELEASE

                                                                             Case Number:             0 - OWLO
                                                                                             / : &-w-64
                               Defendant

       V
               IT IS ORDERED that the release of the defendant is subject to the following conditions:

                 (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                     case.

                 (2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before
                     any change in address and telepbone number.

                 (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
                                                                                                                                       4

                      imposed as directed. The defendant shall appear at (if blank, to be notified) COURTROOM                        3
               ---    -
US DISTRICT COURT,JUDGE                                                 on




                                         Release on Personal Recognizance or Unsecured Bond

               lT IS FURTHER ORDERED that the defendant be released pmvided that:

        (     ) (4) The defendant promises to a p p at all proceedings as required and to sumnder for service of any nentencc
                      imposed.

        (     ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of




  W n l T E COPY. COURT       YELLOW - D E F E N D A N T            -
                                                             B L U E U.S. A T T O R N E Y   PINK   -   U.S. M A R S H A L     G R E E N -PRETRIAL SERVICES
                               Case 1:05-cr-00461-OWW Document 41 Filed 04/03/06 Page 2 of 3
  03-31-2006         15:lO        FROHPRETRIAL SERVICES                                         558-488-7542                   T-I75     P. 002/002      F-070


 ELL, Joe Newman
 Dkt. No. 05-00461 O W                         ADDITIONAL CONDITIONS OF RJCLEASE                                                                -
          Upon finding t b n t r e l e a e by o n e o f t h e a b w e m e t h o d s will n o t by itselPrcaaonably s u u r e t h c a p p e a r a n c e o f rhedefendrnt
 and the sateQ orother persons a n d the community, i t is FURTklER ORDERED thnt tlie rclease of t h e defendant is subject to the
 conditions marked beluw:

 (X )          (6)      Tlrc defendant is placed in tho custody oP.

                                                    -
                        Nsmc of pernon o r organization W




                                 -                                     -
who agrees (a) to supervise rhc defendant in sccordance with all conditions u t relcase,
(b) t o uso every effort t o assuro the appearance of thc defendant a t all scheduled court proceedings. a n d (c) to notify the court
immccliatcly in the event the defendant violates a n y conditions olrelense o r disappesn.

                        SIGNED:
                                            EUSTODIANOR PROXY
                       Thc dek:ndanr shall:
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                       @)        should vou secure emplovment, vuu shnll reimbume the Frctrlol Seniccs Aaencv for the cost of vour residmtiol
                                 plnmment as directed bv the PSO.,
                                 abide bv the followine rcrtrictions on his oersonnl associations. plncc oTsLode, or mnvd:
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                                 reutrlcted ro Bresno Countv. unlur otharwise an~rovcdin advance bv PSO.
                                 avoid all Mnrncr with l h o f o l l o ~ n a m e doersons. wbanrerongidcredeilhcr allegedvictims or potential witneEsm:
                                 F                                            F                                       c ap~rovedin ndvnnc~bv the PSO,
                                 repon on n regular basis10 the following agency:
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                                                      ~ t complv wlrh their rules and reeulntimns.
           (x)         (0        vou rhull renon nnv ~rexrintionrro t h c PSO within 48 hours of r e w i a t
           (x)         k)        y                                                                                y
           (x)         01)        0
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                                  druelalcohol de~endcncv.and oav for canu a5 a ~ n r o v dhv thc PSO.
          (1
           ~    ~      (i)
                       .          cxccuted a bond or an agreement m $rfeit upon hiling ro nppm or failure lo abide by any ofthe conditions ofrclcasc.
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                                  perccnmgc otrhc abovedesuibcd money:
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                                                                                c bh e mount of%
          ( )          (m)       IENm ro custody each (week)dny tx of o'clock a h being rclcesed each (wesk)day as of o'clock for~nployment.
                                 schoolin& or ths bliowing limiad purpose(s):
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          ( )          (0)        obmin no passpon during ihe pendency of this casc.
          (X )         (p)        rcnort in o e n i n to the Pretrial Scrviccs Awncy on the fin1workime dnv follow in^ vour rclwse from custodv.
          i)           .-
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                         Case 1:05-cr-00461-OWW Document 41 Filed 04/03/06 Page 3 of 3



     TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

          A vioIation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
     a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
     a fine, or both.
          The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
     not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a mis-
     demeanor. This sentence shall be in addition to any other sentence.
          Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
     investigation. It is a clime punishabIe by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness. vic-
     tim M informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or anempt to intinlidate a
     witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
     more serious if they involve a killing or attempted killing.
          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence.
     you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
               not more than $250,000 or imprisoned for not more than 10 years. or both;
          (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
               more than $250,000 or imprisoned for not more than five years; or both;
          (3) any other felony, you shall be tined not more than $250,000 or imprisoned not more than two years, or both;
          (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
     In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                      Acknowledgement of Defendant
          I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all condi-
     tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions
     set forth above.


                                                                                         w       ;da
                                                                                                                             -
                                                                                                  Signature of Defendant




                                                                            /city        and State    1

                                                Directions to United States Marshal
(   Yf    The defendant is ORDERED released after processing.
       ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
(
          defendant has posted bond and/or complied with all other conditions for release. Th
          appropriate judicial officer at th
          Date:



                                                                                             Name and Title of Judicial Oficer




    WHITE COPY - COURT           YELLOW- DEFENMNT              BLUE - US AnORNEY           PINK - US MARSHAL            GREEN - PRETRIAL SERVICES
